Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 1 of 19 Pageid#: 1




                                                                        10/8/2020
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            LYNCHBURG DIVISION




ASHLEY NICOLE NOONAN,                 )
Formerly known as                     )
ASHLEY CULPEPPER,                     )
     Plaintiff,                       )
                                      )
v.                                    )                    6:20CV00068
                                          Civil Action No.______________
                                      )
CONSOLIDATED SHOE                     )
COMPANY INC.                          )
                                      )
Defendant.                            )




              CIVIL COMPLAINT FOR MONETARY AND EQUITABLE RELIEF

Plaintiff Ashley Nicole Noonan, formerly known as Ashley Culpepper,
(“Culpepper”) herein by and through undersigned counsel, files this suit
against Consolidated Shoe Company Inc. (“CSC”) for violations of The Equal
Pay Act of 1963 and Title VII of the Civil Rights Act of 1964.

                                      Introduction

     1. CSC violated the Equal Pay Act when it subjected Culpepper to unequal
     pay for comparable work performed by male colleagues.

     2. CSC violated the Equal Pay Act when it retaliated against Culpepper for
     complaining about her unequal pay and for seeking to have her complaints
     redressed.

     3. CSC violated Title VII of the Civil Rights Act of 1964 when it subjected
     Culpepper to disparate treatment, including unequal pay for the work she
     performed, based on her sex.

     4. CSC violated Title VII of the Civil Rights Act of 1964 when it retaliated
     against Culpepper for complaining about her unequal pay and for seeking
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 2 of 19 Pageid#: 2




   to have her complaints redressed.


                              Jurisdiction and Venue

   5. This Court has jurisdiction over the subject matter of this action
   pursuant to 28 U.S.C. § 1331, because the action arises under the laws of
   the United States of America, namely the Equal Pay Act, and Title VII.

   6. Culpepper has exhausted the administrative remedies available to her
   with the Equal Employment Opportunity Commission (“EEOC”) under Title
   VII of the Civil Rights Act of 1964.

   7. The EEOC issued Culpepper a Notice of Right to Sue on September 24,
   2020.

   8. This Court has personal jurisdiction over CSC because it has substantial
   and deliberate contacts with the Commonwealth of Virginia and it
   conducts business in the Commonwealth of Virginia.

   9. Venue in this district and division is appropriate pursuant to 28 U.S.C.
   § 1391 because CSC has significant and deliberate contacts with this
   district and division.

   10. Venue in this district and division is also appropriate pursuant to 28
   U.S.C. § 1391 because it is the district and division where the substantial
   majority of the events giving rise to these claims occurred.

                               Factual History

   11. Culpepper has significant experience working in the field of Digital and
   Creative Marketing.

   12. Culpepper is a 28 year old woman and is a resident of Forest, Virginia.

   13. Culpepper earned a Bachelor of Communications in Print Journalism
   and two minors in Public Relations and Advertising and Writing from
   Liberty University in 2013.

   14. Prior to working at CSC, Culpepper worked as the Marketing Manager
   for Minnieland Academy where she was responsible for creating all of the
   marketing material including the design of business cards, handbooks,
   newspapers, and magazines.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 3 of 19 Pageid#: 3




   15. From 2014-2019 she also worked as a consultant for Top Line Media
   Team, where she worked several hours a month on independent writing
   and design projects for websites, blogs, and social media.

   16. In February 2016, Culpepper accepted the position of Content Media
   Coordinator at CSC and worked as a de facto graphic designer. This
   position included: responsibility for developing creative content for e-
   commerce sites and required a strong background in writing, web content
   management and visual marketing. Requirements for the position,
   according to CSC’s own job description, included experience in managing
   websites, photography and graphic design capabilities. It also required a
   working knowledge of Adobe Creative Suite, including Photoshop,
   Illustrator, and InDesign.

   17. Culpepper more than fulfilled the basic requirements of the position
   when hired.

   18. Culpepper was initially offered a salary of $37,000 a year, she rejected
   it, and then was offered a salary of $39,000. This was less money than
   Culpepper had been making in her previous position.

   19. Throughout her entire tenure at CSC, Culpepper made $39,000
   annually.

   20. During her tenure at CSC, Culpepper engaged in brand photography,
   graphic design, creating strong brand imagery, web content management,
   visual marketing and creative writing and email marketing when needed.

   21. From February 2016 to October 2016, Culpepper was a member of the
   Marketing Team which consisted of Liz McDade, Tanya Fischoff, Yoora
   Wang, Culpepper, and for a brief period another employee, Taylor, who
   handled social media.

   22. Taylor handled social media for approximately one month until
   Culpepper took over those duties and performed them until Liz McDade
   was hired; Tanya handled marketing trends and analytics, Sorority
   partnerships, SEO and some minor PR before her position evolved.

   23. Culpepper performed the duties as outlined in the job description for
   Content Media Coordinator.

   24. From February 2016 to October 2016, Yoora Hwang was the Graphic
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 4 of 19 Pageid#: 4




   Designer on the Marketing Team.

   25. Hwang had been the graphic designer for 1-2 years. Under information
   and belief her salary was similar to that of Culpepper’s.

   26. After her departure, in October, November, and December 2016
   Culpepper was responsible for all Graphic Design assignments.

   27. In January 2017, Kristina Petrick was hired as the Creative Director.
   Petrick was Culpepper’s direct supervisor, was a high-level manager, and
   had the authority to hire and fire employees.

   28. From January 2017, Culpepper continued to be responsible for the
   majority of graphic design assignments, in addition to other assignments
   including photography and writing assignments.

   29. From October 2016 to October 2018, Culpepper was responsible for the
   majority of graphic design assignments including: eblasts and content for
   e-commerce sites, all photography, video shooting and editing, creation of
   catalogs in InDesign for 7 brands, creation of lookbooks in InDesign for 7
   brands, and creation of notecards.

   30. From October 2016 to October 2018, Culpepper was responsible for
   creating the majority of all Marketing Team materials while Petrick
   maintained management responsibility for the Team, including
   assignments work and final editorial control.

   31. From October 2016 to October 2018, Culpepper received overall
   positive feedback on her work product from Petrick and other co-workers.

   32. In December 2016, Culpepper had a review conducted by Cheryl
   Valentine. This review was overall positive and the two discussed
   constructive feedback on Culpepper’s performance.

   33. In December 2017, Culpepper had a positive review conducted by
   Petrick.

   34. In the Spring of 2018, Petrick expressed her optimism about the growth
   potential of the department and mentioned how she wanted to support
   Culpepper in moving into a more senior position with management
   responsibility.

   35. In late 2018, Petrick informed Culpepper that CSC would be hiring a
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 5 of 19 Pageid#: 5




   graphic designer. In Petrick’s words this new employee was going to be a
   huge help to Culpepper – to take the majority of graphics off her plate so
   she could focus on the photography.

   36. In October 2018, CSC hired Mathew Wiese, a male who was given the
   title of Senior Graphic Designer.

   37. Wiese was given a salary of approximately $ 67,999.88 annually.

   38. Under information and belief, Wiese upon his hiring in October 2018
   was offered a salary similar to Culpepper, which Wiese refused and he was
   subsequently given more money as he requested.

   39. In December 2018, shortly after Wiese was hired, Culpepper requested
   a raise and was told that the company was not giving raises.

   40. Wiese is of the same approximate age as Culpepper, they graduated
   from the same University, and they were in the same School of
   Communications and Arts.

   41. Under information and belief, Culpepper had more experience in the
   area of creative marketing than Weise.

   42. Prior to Wiese’s hiring, Culpepper was performing all of the job duties
   Wiese was eventually assigned. Essentially CSC took Culpepper’s job and
   created two jobs from it, paying Culpepper’s male successor $28,999.88
   more per year.

   43. Weise was given responsibility over the same products that Culpepper
   was responsible for from 2016-2018, including: catalogues, lookbooks,
   notecards, and e-mail marketing.

   44. Culpepper had been successful in increasing the monetary conversion
   of CSC’s email marketing by thousands of dollars.

   45. When Wiese was hired at CSC, he was given the title of Senior
   Graphic Designer, and Culpepper, after requesting a new title, was given
   the new title of Senior Photographer and PR Specialist, but was not given
   a raise as she requested.

   46. Upon transitioning many of her graphic design tasks to Wiese, other
   co-workers stated that they missed working with Culpepper on these
   tasks as she did a good job handling them.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 6 of 19 Pageid#: 6




   47. The three positions required equal skills, efforts and responsibilities
   according to the following CSC job descriptions:


 Content Marketing         Sr. Photographer and      Sr. Graphic Designer
 Coordinator               PR Specialist
 Responsible for           Responsible for           Experience in creative
 developing creative       developing creative       writing
 content for ecommerce     content for ecommerce
 sites by engaging with    sites by engaging with    Experience in web
 consumers and by          consumers and by          management platforms
 continuing to hone the    continuing to hone the    such as Shopify and
 distinct identity         distinct identity         Squarespace

 Requires strong           Requires strong           Experience in creative
 background in writing,    background in writing,    writing
 web content               web content
 management and visual     management and            Experience in web
 marketing                 visual marketing          management platforms
                                                     such as Shopify and
                                                     Squarespace

 Experience managing       Experience managing       Provide analytical
 websites, photography     websites, photography     reports of KPIs for
 and graphic design a      and graphic design a      web, advertisements,
 must                      must                      and various campaigns

 Increases consumer        Increases consumer        Able to follow brand
 engagement with           engagement with           guidelines while
 strong imagery, graphic   strong imagery,           inventing new ways to
 design and compelling     graphic design and        present the branded
 writing                   compelling writing        message in both visual
                                                     and written
                                                     communication

                                                     Advise creative,
                                                     innovative strategies to
                                                     reach a particular
                                                     target audience

                                                     Determine campaign
                                                     messaging and visual
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 7 of 19 Pageid#: 7




                                                   design to convey a
                                                   specific message

                                                   Incorporate changes
                                                   recommended by
                                                   clients and the creative
                                                   team

                                                   The ability to present
                                                   new ideas to
                                                   teammates,
                                                   management and
                                                   clients

 Coordinates and           Coordinates and
 executes photography      executes photography
 for branded lifestyle     for branded lifestyle
 imagery                   imagery
 Photography skills with   Executes photography    Create various media
 fashion photography       for e-commerce sites,   including print, video
 focus a plus              social media and show   and audio conveying a
                           rooms                   specific product or
                                                   message
                           Films products and
                           campaign video          Review and proof
                           featuring top style     designs for errors
                           shoes

                           Executes and edits
                           lifestyle, studio and
                           flat lay photography
                           using Adobe Creative
                           Suite
 Coordinates and
 assembles design of e-
 mail marketing
 campaigns or online
 sales
 Working knowledge of      Uses working            Strong experience in
 Adobe Creative Suite      knowledge of Adobe      Adobe InDesign,
 including Photoshop,      Creative Suite          Photoshop, Illustrator
 Illustrator & InDesign    programs including      and Premier
                           Photoshop, Premier,
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 8 of 19 Pageid#: 8




                             Illustrator and
                             InDesign
 Coordinating updates        Manages product           Develop copy content
 to e-commerce sites         photos and SEO Alt-       for websites, blogs,
 using consistent copy       Tags for online stores    articles, press releases,
 and design to optimize      inventory                 product descriptions,
 traffic                     Executes SEO projects     marketing materials,
                             to increase online        campaigns and SEO
 Working knowledge of        traffic
 search engine                                         Provide analytical
 optimization and                                      reports of KPIs for
 inbound marketing a                                   web, advertisements,
 plus                                                  and various campaigns

 Coordinating marketing      Works closely with
 tactics directly with the   sales team to handle
 Director of Sales and       show media requests
 Marketing                   and print advertising
                             deadlines

 Gaining deep insights       Assists in contributing   Develop copy content
 into fashion consumers      to branded blogs with     for websites, blogs,
 and researching and         photography content       articles, press releases,
 creating compelling         and writing               product descriptions,
 fashion blog posts and                                marketing materials,
 on-brand product                                      campaigns and SEO
 descriptions

 Excellent written and
 oral communication
 skills, especially
 blogging and medium
 format writing

                             Creates imagery for       Develop layout and
                             look-books, catalogs,     graphics for product
                             brochures, postcards,     illustrations, logos,
                             business cards, and       catalogs, lookbooks,
                             posters                   direct mail,
                                                       advertisements, email
                             Composes press            marketing, social
                             releases for national     media, videos,
                             placements                websites, and other
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 9 of 19 Pageid#: 9




                                                      forms of media
 Increasing institutional   Works with top social     Constantly in pursuit of
 capability and             influencers to obtain     excellence, following
 knowledge of inbound       high quality imagery      the latest design trends
 marketing principals       for brand awareness       and the fashion
                            and marketing             industry in an exciting,
 Working knowledge of       materials                 fast-paced environment
 content management
 and web design             Interacts with media      Able to follow brand
 principles                 and advertising           guidelines while
                            agencies to create        inventing new ways to
                            brand awareness and       present the branded
                            exposure                  message in both visual
                                                      and written
                            Works with editors,       communication
                            writers and bloggers to
                            gain media attention      Advise creative,
                            for brands                innovative strategies to
                                                      reach a particular
                                                      target audience

                                                      Determine campaign
                                                      messaging and visual
                                                      design to convey a
                                                      specific message

                                                      Incorporate changes
                                                      recommended by
                                                      clients and the creative
                                                      team

                                                      The ability to present
                                                      new ideas to
                                                      teammates,
                                                      management and
                                                      clients

                            Manages corporate
                            internship program for
                            creative marketing
                            materials
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 10 of 19 Pageid#: 10




                           Manages budget for
                           public relations
                           initiatives and shoe
                           collaborations
  Bachelors' degree in                              Bachelor's degree in
  creative writing,                                 graphic design
  communications,
  digital media or other                            2+ years experience
  relevant field                                    working in the field of
                                                    graphic design
  Three of more years of
  relevant working                                  Work as a team with
  experience                                        co-workers and the
                                                    creative director to
  Other challenging and                             determine the scope of
  interesting work as                               various projects
  assigned

                                                    Experience in the
                                                    fashion or retail
                                                    industry preferred

                                                    Knowledge of Mac OS
                                                    and software upgrades
                                                    Proficiency in
                                                    Microsoft Office

                                                    Team player mentality
                                                    that's flexible and open
                                                    to working outside of
                                                    the box and standard
                                                    realms of
                                                    responsibilities,
                                                    supporting the
                                                    company as a whole

                                                    Open to personal
                                                    growth through
                                                    constructive criticism
                                                    and client feedback

                                                    Sense of urgency in a
                                                    fast-paced, deadline-
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 11 of 19 Pageid#: 11




                                                      orientated environment
                                                      Creative genius with
                                                      the ability to identify
                                                      and execute new,
                                                      exciting ways to
                                                      present products and
                                                      ideas

                                                      Great attention to
                                                      detail with a
                                                      perfectionist approach
                                                      to design execution




    48. Until March 2020 (because of Covid-19) both Culpepper and Wiese
    worked at the same physical location, in an office setting, and worked full-
    time Monday through Friday, 8 am to 5pm, using the same level of
    equipment, they both had access to and used the same programs.

    49. Culpepper had an additional level of responsibility, starting in Fall
    2016 Culpepper created and thereafter managed CSC’s internship
    program, managing between 1-2 college age interns at a time.

    50. Culpepper learned in December 2019 that Wiese made approximately
    $28,999.88 more per year than she did.

    51. The three positions of Content Marketing Coordinator, Sr.
    Photographer and PR Specialist, and Sr. Graphic designer required equal
    skill, effort and responsibility.

    52. The jobs were very much alike and were closely related to each other,
    assignments between the three positions were shifted easily depending
    upon workload and need.

    53. On December 13, 2019, Culpepper had a review with her supervisor
    Petrick. During that review, Petrick stated that she would advocate for
    Culpepper to have a raise.

    54. Petrick told Culpepper that the CEO was open to the possibility of a
    raise, but Culpepper needed to send an email describing her success in
    2019 and her role evolution as a whole.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 12 of 19 Pageid#: 12




    55. After the review was completed, Culpepper left Petrick’s office, then
    returned several minutes later and brought the discriminatory pay
    practice to the attention of her direct supervisor.

    56. Petrick informed Culpepper at that time that it was illegal for her to
    have this information and told her that it was a fireable offense.

    57. The CSC handbook specifically and illegally attempts to prohibit
    employees from discussing their salary.

    58. At the end of that meeting, Culpepper feared that CSC would illegally
    fire her because she brought discriminatory pay practices to the attention
    of her direct supervisor.

    59. Upon the insistence of Petrick, Culpepper emailed CSC’s CEO, Cam
    Knight, about the discriminatory pay practices and asked that it be
    remedied.

    60. After bringing the discriminatory pay practices to the attention of
    management, Culpepper was not given any such raise as Petrick promised
    to advocate for on her behalf.

    61. CSC purported to perform an “investigation” into the discriminatory
    pay practices and in February 23, 2020 informed Culpepper that her
    position and Weise’s position were not similar because Culpepper was
    more “Administrative” despite the fact that Weise and Culpepper both had
    Senior titles.

    62. Under information and belief, Petrick did not advocate on Culpepper’s
    behalf for a raise. Instead, she began giving Culpepper an excessive
    amount of unwarranted negative feedback on her work and began taking
    away her job duties.

    63. For example, Petrick, after more than a year of approving the same
    model, suddenly began criticizing Culpepper’s choice of unpaid model and
    began taking away photoshoots from Culpepper.

    64. Petrick began to dramatically reduce the number of creative
    assignments given to Culpepper in December 2019, including important
    photography to be used in major campaigns that Culpepper had handled
    since she started at CSC.

    65. The stripping of these assignments from Culpepper was significantly
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 13 of 19 Pageid#: 13




    detrimental to Culpepper as it took away important opportunities for
    professional accomplishment and advancement and were intended to
    diminish Culpepper’s Senior role to an Administrative one.

    66. Petrick took away all of Culpepper’s responsibility for email marketing
    starting in 2020 after she spoke to Petrick about unequal pay.

    67. Petrick took away Culpepper’s responsibility for email marketing and
    informed co-workers not to include Culpepper on email marketing projects
    which Culpepper had been responsible for since starting with the
    company.

    68. Culpepper learned only from the co-worker that this responsibility had
    been taken away from her, as Petrick refused to communicate that directly
    to Culpepper.

    69. This negative feedback and diminishment in responsibilities continued
    until Culpepper was terminated from her position with CSC in June 2020.

    70. At the time of her termination, Culpepper had been effectively assigned
    to a job with significantly different job responsibilities as she had in
    December 2019.

    71. Culpepper was informed that her position was being terminated
    because of business related concerns due to Covid-19. Under information
    and belief, CSC received money pursuant to the Paycheck Protection
    Program, which was designed to keep employees at their jobs.

    72. Despite receiving this money, CSC terminated Culpepper and Weise.
    However, under information and belief, CSC gave Wiese a positive
    reference in his job search and refused to allow any employee of the
    company to give Culpepper any job reference.

    73. From the time she brought the discriminatory pay practices to the
    attention of CSC in December 2019 to her termination, CSC continued to
    pay Culpepper significantly less than it pays male employees who perform
    substantially the same work under substantially the same conditions as
    Culpepper.


                             COUNT I
       The Equal Pay Act of 1963 ("EPA") 29 U.S.C. § 206(d)
                       Unequal Pay - Willful
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 14 of 19 Pageid#: 14




    74. Culpepper incorporates and re-alleges the allegations in the foregoing
    paragraphs as though alleged fully herein.

    75. Culpepper is an "employee" as defined by 29 U.S.C. § 203(e)(2)(ii).

    76. Defendants are "employers" as defined by 29 U.S.C. § 203(d).

    77. Culpepper is a female.

    78. Culpepper's comparator is Mathew Weise.

    79. Culpepper performed work that requires at least equal, if not more,
    skill, effort, and responsibility as those of her male colleague.

    80. Culpepper worked under similar conditions as her male colleague.

    81. Culpepper's comparable male colleague received compensation of
    $67,999.88 annually while she received compensation of $39,000
    annually.

    82. From October 2016 to October 2018, Culpepper performed all of the
    duties eventually assigned to Weise, yet CSC has compensated and
    continued to compensate her at a significantly lower rate than Weise.

    83. CSC failed to compensate Culpepper comparable to employees who: are
    of the opposite sex, work in the same establishment as Culpepper, perform
    work equal to or comparable to that of Culpepper, retain positions that
    require equal skill, effort and responsibility as Culpepper, and perform
    their work under similar conditions as Culpepper.

    84. CSC's violation of the Equal Pay Act in regard to Culpepper was willful
    and reckless.

    85. CSC knowingly and willfully set Culpepper's pay at a level substantially
    below that of her male colleagues.

    86. CSC ignored Culpepper's complaints about the disparity in her pay.

    87. After Culpepper complained formally through counsel about her
    unequal pay, CSC knowingly and willfully continued to pay Culpepper at a
    level substantially below that of her male colleague who performed
    comparable work.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 15 of 19 Pageid#: 15




    88. As a direct and proximate cause of CSC's violations of the Equal Pay
    Act, Culpepper has suffered significant monetary damages.

                                   COUNT II
             The Equal Pay Act of 1963 ("EPA") 29 U.S.C. § 215(a)(3)
                                   Retaliation

    89. Culpepper incorporates and re-alleges the allegations in the foregoing
       paragraphs as though alleged fully herein.

    90. Culpepper is an "employee" as defined by 29 U.S.C. § 203(e)(2)(ii).

    91. Defendant is an "employer" as defined by 29 U.S.C. § 203(d).

    92. Culpepper engaged in protected activity under the Equal Pay Act in
    December 2019 when she complained to Petrick and then Cam Knight
    about the disparity in her pay and asked that it be remedied.

    93. CSC took immediate adverse employment action against Culpepper
    when her supervisor told her she could be fired for making complaints
    about pay disparities and Culpepper reasonably feared that she would be
    fired.

    94. CSC took an adverse employment action against Culpepper when it
    denied her a raise after she complained about the disparity in her pay.

    95. CSC, through Petrick, took an adverse employment action against
    Culpepper from December 2019 to June 2020 when it began a campaign of
    stripping certain responsibilities from Culpepper – particularly creative
    marketing duties such as photography and started attempting to
    characterize Culpepper’s role as Administrative.

    96. CSC took an adverse employment action against Culpepper when it
    terminated her and then refused to give her a positive employment
    reference while giving a positive employment reference to her male
    comparator.

    97. Culpepper applied for unemployment after being terminated and was
    denied because the Virginia Employment Commission could not verify her
    prior wage information. Wiese was approved immediately for
    unemployment.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 16 of 19 Pageid#: 16




    98. Under information and belief Wiese signed the severance agreement
    proffered by CSC and Culpepper did not. The proffered agreement
    specifically stated it would not interfere with her unemployment claim.

    99. Culpepper was not paid for her last two days of work at CSC.

    100. These actions served to deter Culpepper from seeking to fully redress
    her rights under the EPA and were motivated by a wish to retaliate against
    her for complaining about discriminatory pay practices.

    101. As a result of CSC's unlawful retaliation in violation of the Equal Pay
    Act, Culpepper has suffered damages.

                                     COUNT III
 Title VII of the Civil Rights Act of 1964 ("Title VII") 42 U.S.C. § 2000e,
 et seq.
                               Discrimination Based on Sex

    102. Culpepper incorporates and re-alleges the allegations in the foregoing
    paragraphs as though alleged fully herein.

    103. Culpepper is female.

    104. Culpepper is an "employee" within the meaning of 42 U.S.C. §
    2000e(f).

    105. CSC is an "employer" within the meaning of 42 U.S.C. § 2000e(b).

    106. At all times relevant to this complaint, Culpepper was fully qualified
    for the position she held at CSC.

    107. CSC discriminated against Culpepper based on her sex when it paid a
    male employee significantly higher wages than Culpepper, and that male
    employee: performed substantially the same work as Culpepper, had
    essentially the same level of skill and responsibility as Culpepper, and
    worked under substantially the same conditions as Culpepper.

    108. CSC took these actions against Culpepper based, in whole or in part,
    on her sex.

    109. As a result of CSC's unlawful sex discrimination against Culpepper,
    Culpepper has suffered damages.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 17 of 19 Pageid#: 17




                                      Count IV
             Title VII of the Civil Rights Act of 1964 ("Title VII")
                               42 U.S.C. § 2000e, et seq.
                                      Retaliation

    110. Culpepper incorporates and re-alleges the allegations in the foregoing
    paragraphs as though alleged fully herein.

    111. Culpepper is female.

    112. Culpepper is an "employee" within the meaning of 42 U.S.C. §
    2000e(f).

    113. CSC is an "employer" within the meaning of 42 U.S.C. § 2000e(b).

    114. Culpepper engaged in protected activity under the Title VII in
    December 2019 when she complained to Petrick and then Cam Knight
    about the disparity in her pay and asked that it be remedied.

    115. CSC took immediate adverse employment action against Culpepper
    when her supervisor told her she could be fired for making complaints
    about pay disparities and Culpepper reasonably feared that she would be
    fired.

    116. CSC took an adverse employment action against Culpepper when it
    denied her a raise after she complained about the disparity in her pay.

    117. CSC, through Petrick, took an adverse employment action against
    Culpepper from December 2019 to June 2020 when it began a campaign of
    stripping certain responsibilities from Culpepper – particularly creative
    marketing duties such as photography and started attempting to
    characterize Culpepper’s role as Administrative.

    118. CSC took an adverse employment action against Culpepper when it
    terminated her and then refused to give her a positive employment
    reference while giving a positive employment reference to her male
    comparator.

    119. Culpepper applied for unemployment after being terminated and was
    denied because the Virginia Employment Commission could not verify her
    prior wage information. Wiese was approved immediately for
    unemployment.
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 18 of 19 Pageid#: 18




    120. Under information and belief Wiese signed the severance agreement
    proffered by CSC and Culpepper did not. The proffered agreement
    specifically stated it would not interfere with her unemployment claim if
    Culpepper signed it, thus serving as a clear threat of the opposite if she
    did not sign the agreement.

    121. Culpepper was not paid for her last two days of work at CSC.

    122. These actions served to deter Culpepper from seeking to fully redress
    her rights under Title VII and were motivated by a wish to retaliate against
    her for complaining about discriminatory pay practices.

    123. As a result of CSC's unlawful retaliation in violation of Title VII
    Culpepper has suffered damages.


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    124. For violations of the Equal Pay Act, 29 U.S.C. § 206(d), Culpepper
    demands such legal and equitable relief as provided by 29 U.S.C. § 216(b),
    including but not limited to the following: economic damages including
    front and back pay; liquidated damages; reasonable attorneys' fees and
    costs; and any other relief this Court may deem just and equitable.

    125. For violations of the Equal Pay Act, 29 U.S.C. § 215(a)(3), Culpepper
    demands such legal and equitable relief as provided by 29 U.S.C. § 216(b)
    which may effectuate the purposes of 29 U.S.C. § 215(a)(3), including but
    not limited to: economic damages, including front and back pay; liquidated
    damages; reasonable attorneys' fees and costs; and any other relief this
    Court may deem just and equitable to effectuate the purposes of 29 U.S.C.
    § 215(a)(3).

    126. For violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
    2000e, et seq., Culpepper demands such legal and equitable relief as the
    Court may deem just, including but not limited to: front pay; back pay;
    compensatory damages; punitive damages; and any other relief this Court
    may deem just and equitable to effectuate.

    127. For violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
    2000e-3(a), et seq., Culpepper demands such legal and equitable relief as
    the Court may deem just, including but not limited to: front pay; back pay;
    compensatory damages; punitive damages; and any other relief this Court
Case 6:20-cv-00068-NKM-RSB Document 1 Filed 10/08/20 Page 19 of 19 Pageid#: 19




    may deem just and equitable to effectuate.


       Trial by jury is demanded on all issues on which plaintiff is entitled to
    trial by jury, including any question concerning whether plaintiff’s claims
    must be submitted to arbitration.




                               Respectfully Submitted

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                               By: s/Johneal White


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